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   NEWS // POLITICS


   VIA transit police have ticketed thousands of motorists for nonbus violations
   Clay Anderson, Correspondent
   Dec. 23, 2021




       Albert Lowe, 65, said he was harassed by VIA police at this bus stop at North St. Mary’s and Martin Streets. In a
       written complaint, Lowe, who is blind, said officers didn’t identify themselves when they yelled at him to not smoke
       at the stop. His complaint was one of hundreds submitted to VIA.
       Jerry Lara /San Antonio Express-News




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   Charles Odum was moving slowly in congested traffic on Interstate 35, taking his two daughters and their mother to their
   grandmother’s house when he heard someone honk at him after he tried to change lanes.


   It was Brent Bible, an officer with the VIA Metropolitan Transit Police Department.


   Bible pulled up next to Odum, stopped and stared at him. Odum said he looked back at the officer and flipped him off.



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   Bible turned on his cruiser lights. Odum, 46, exited to the access road and drove for several miles until he pulled up to the
   house.


   Records of the Aug. 14, 2017, incident show that Bible got out of his patrol car, drew his gun and yelled at Odum to lie on the
   scorching ground. He refused. Two San Antonio Police Department officers arrived, then six more VIA police officers. Bible
   arrested Odum on a charge of evading arrest and took him to the magistrate. A county court later dismissed his case.


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   Making traffic stops that have nothing to do with bus riders isn’t unusual at VIA.




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   Ridership down, VIA police budget up
   Even as VIA’s ridership has plummeted by almost 14 million since it peaked in 2012, the bus system’s police budget has more
   than doubled and the force has grown from 31 positions to 59.

        Ridership



   40M

                                                                                          32,143,290
   20M


   0
            2012    2013      2014    2015      2016      2017     2018      2019      2020

   Get the data



        Funding

   8M

   7M
                                                                                          $6,789,026
   6M

   5M

   4M

   3M

   2M

   1M

   0
            2012    2013      2014    2015      2016      2017     2018      2019      2020

   Chart: Ryan Serpico, Monte Bach / San Antonio Express-News • Source: VIA Metropolitan Transit • Get the data




   VIA’s Police Department is tasked with protecting public transit, but it has the authority to patrol anywhere in Bexar County. An
   analysis of its citations found that at least 70 percent of the 3,470 tickets VIA police wrote between 2016 and 2020 were for
   traffic or parking violations.


   Citations have increased even as annual bus ridership has fallen by almost 14 million since it peaked in 2012. At the same time,
   the VIA Police Department has grown from 31 positions in 2012 to 59 this year, and its budget has more than doubled from $2.6
   million in 2012 to $6.8 million in 2020. VIA says 42 of the 59 current positions are certified police officers.


   VIA operates 528 buses today, about 100 more than in 2012. But the total miles traveled by the buses is roughly the same: 24
   million miles last year.




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   The bus system has been chronically underfunded since its inception in 1977, financed largely by 5/8th cent of the 1-cent sales
   tax permitted by the state to pay for public transit. Other large Texas cities receive a full cent, allowing them to invest in
   higher-frequency routes and services such as light rail.


   VIA spokeswoman Lorraine Pulido said the agency has increased its police force because “customers and the community” often
   have told the agency that safety is a top priority in VIA’s 1,208-square-mile service area. By comparison, Houston Metro has 297
   sworn officers to cover 1,319 square miles, served by around 1,200 buses and three light-rail lines. Records show about 25
   percent of its citations are for traffic violations.


   It is unclear why VIA police are making mostly nontransit traffic stops. Pulido said the police must cover VIA’s entire service
   area and that “the issuance of citations directly and indirectly impacts rider and pedestrian safety” by addressing traffic
   violations “that may otherwise go unchecked.”




       Albert Lowe, 65, at the North St. Mary’s and Martin Streets bus stop. The retired nurse, who is blind was smoking too
       close to the stop when an officer approached him and the situation quickly escalated.
       Jerry Lara /San Antonio Express-News




   VIA said it doesn’t receive revenue from the traffic citations.


   A reporter received copies of several police reports, including Odum’s, and VIA released a citation log showing how it
   categorized police stops. But the agency sought to charge $7,800 to release police reports on all the stops between 2016 and
   2020. Officials would not provide the reports for free in the public interest, which is allowed by Texas law.


   In Odum’s case, officer Bible wrote in the incident report that when Odum threw up his hands, he was afraid that the woman
   sitting in the front seat was in distress, a claim Odum denied. Bible has since left VIA and is a Bexar County sheriff’s deputy.


   Michael Gilbert, a former corrections officer and retired professor of criminology at the University of Texas at San Antonio, said
   Bible should have tried to de-escalate the situation rather than make it worse.




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   De-escalation training is absent from the VIA Police Department’s Standard Operating Procedures. But every officer must take a
   state-certified crisis intervention and de-escalation course at least once and complete continuing education courses required
   by the state, Pulido said.


   Gilbert said de-escalation training can prevent violent situations. He said uniformed officers should treat people with basic
   dignity and not attempt to assert dominance or use coercive tactics.


   The Black Lives Matter movement has placed increased emphasis on policing and how officers treat citizens, in particular
   minorities. More than 80 percent of VIA riders are Black or Hispanic, agency records show. But non-whites made up an even
   larger percentage — 91 percent — of all VIA citations in the last five years.


   VIA police encounters
   On the morning of May 8, 2018, Chris Davila was driving through downtown on her way to visit a friend when a VIA transit
   police cruiser turned on its lights. She pulled over but said she was confused because she thought only San Antonio police or
   Bexar County sheriff’s deputies could make traffic stops.


   When the police approached, she rolled down her window only a few inches, unsure if the two men who got out of the VIA
   cruiser were real police officers.


   In their report, the officers said Davila repeatedly refused to open the window to provide her driver’s license and proof of
   insurance. Davila said the officers shouted profanities and that one banged on her window.


   “I was really frightened and scared at that point,” said Davila, 48, who is a freelance graphics designer. “So I called 911.”


   SAPD officers arrived, and then a VIA police lieutenant showed up. He approached Davila’s vehicle and asked her to explain what
   happened. “My officers shouldn’t have reacted in the way they did,” Davila said he told her. The VIA officers issued three tickets,
   two for failing to signal and one for failing to obey a peace officer. Davila said in an interview she had used her turn signal.


   Records show Davila went to court that July and paid a fine of $402.


   “I left that situation feeling traumatized,” she said.


   A number of citizens have filed written complaints about their treatment by VIA police.




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       A man smokes by a bus stop at the corner of North St. Mary’s and Martin Streets bus stop on Dec. 14, 2021.
       Jerry Lara /San Antonio Express-News



   Albert Lowe, 65, a retired nurse who lost his vision at 54 because of untreated glaucoma, was waiting Dec. 30, 2019, for the No. 4
   bus to arrive at St. Mary’s and Martin downtown and wanted to smoke a cigarette. He asked a man waiting if it would bother
   him, and then he lit the cigarette.


   Soon after, he heard a man behind him say, “Put that cigarette out.” Not knowing who was speaking, he turned around and
   asked, “Who are you?” The man yelled back, “Who are you?” A woman walked up behind Lowe, telling him the man was wearing
   a badge. It was a VIA officer.


   The officer called for backup, and two more officers arrived. They told Lowe that he should know the law and that he can’t
   smoke within 20 feet of a bus stop. Lowe again asked, “Who are you?” to which an officer replied, “You don’t need to know who
   we are.”




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   Complaints released by VIA show several people claimed the transit police didn’t identify themselves in encounters. The law
   doesn’t require them to, though records show officers have been counseled for refusing to provide their name and badge

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   number.


   In Lowe’s case, he said he was so intimidated by the officers that he dialed 911 on his cellphone for help. He boarded the bus
   before SAPD officers could arrive.


   “If they would’ve identified themselves as VIA police and said, ‘Well, you’re too close to the bus stop, you either walk down the
   street or you put the cigarette out.’… That’s not what transpired. It was like we went from 0 to 120 in two seconds,” Lowe said.


   VIA employs Texas-certified police officers and third-party security guards, who provide extra support for the transit police.
   Security guards are usually positioned at large transit centers, such as downtown’s VIA Centro Plaza, and are tasked with
   removing nonriders from VIA’s premises.


   Unarmed security guards are required to “observe and report” incidents to transit police; armed guards are required to
   intervene until VIA police arrive. U.S. Security Associates, the company that employs VIA’s contracted guards, provides training
   for armed and unarmed guards.


   VIA police and guards sometimes ride the buses to provide security.


   Multiple riders have alleged that while waiting for a bus, security guards approached them and aggressively asked them to
   leave, accusing them of loitering. Multiple complaints accuse security guards of fabricating rules about the length of time
   customers can stay at a station, a rule VIA said does not exist.


   One complaint verified and upheld by VIA described how two security guards watched as a fight broke out at Brooks Transit
   Center on the South Side. They failed to intervene and waited roughly 30 minutes to call the transit police.


   Are riders any safer?
   VIA security guards and transit police have been accused of harassing homeless people. A complaint verified and upheld by VIA
   describes how a transit officer honked and flashed his cruiser lights to make a homeless person leave a bus stop.


   In 2018, a VIA rider witnessed a VIA security guard encouraging two homeless people to fight each other near Centro Plaza.
   When the rider pulled out her phone to start recording the guard, he threatened to take her to court if she went to the media.


   In some complaints where the officers or security guards were identified, VIA responded in writing by saying the officers were
   “counseled” about their behavior.


   Pulido said supervisors investigate all complaints. An officer can be fired for continuing violations of professional standards.


   Though VIA has expanded its police force, some riders say they don’t feel any safer riding the bus.


   Lowe said he has been robbed three times while waiting for the bus, but VIA officers were never there to help. The first time he
   had an interaction with a VIA officer was during the smoking incident, in which he was given a ticket.


   “You know what’s so sad about it? I called VIA and I explained to them what happened, and the people at VIA said, ‘The only
   thing they should’ve told you to do, sir, was put the cigarette out.’ That should’ve been it.”


   This story has been corrected to show VIA receives no revenue from traffic citations.

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   Written By
   Clay Anderson




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